          Case 4:14-cr-00003-MFU              Document 183 Filed 05/19/15                   Page 1cl .RK
                                                                                                    of 6 ': IFFI  GEU.:.DISX ë'
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                                                                525                                          ATM NVILLE'VA
                                                                                                                   FILE;
AO245C (Rev.9/11-VAW Additions6/05)AmtndedJudgmentinaCriminalCase                               (NOTE:ldentifyChangeswithAsterisks0))
            sheetl


                                       UNITED STATESDISTRICT COURT                                          av
                                                                                                             tutw         t ,LERK
                                                   W estern D istrictofV irginia                                  DEp c E x
        UNITED STATESOF AMERICA                                    AM ENDED JUDGM ENT IN A CRIM INAL CAS
                           V.                                      CaseNumber: DVAW 414CR000003-005
     TIM OTHY LAM ONT M ITCH ELL                                   CaseNumber:
                                                                   USM Number: 18476-084
D ate ofO riginalJudgm ent:                  5/14/15               RobertFrank Rider
(OrDateofLastAmendedJudgment)                                      Defendant'sAttorney
 Reason for Am endm ent:
!-1Col xctionofsentenceonRemand(12U. S.C.3742(t)(1)and(2/          r-
                                                                    '
                                                                    -IModiticationofSupervisionConditions(12'
                                                                                                            U,s.
                                                                                                               C.jj3563/)(z3513(e))
F'-IRelkctionofsentenceforCllanzedCircumstances(Fei R.Crim.        F-lModiticationofImgosedTennoflmgrisonmentf0rExtraordinay'
                                                                                                                            and
    ?.35(b))                                                          CompellingReasons(l8U.S, C,j3582(c)(1))              .
 I
 --ICorrectionofsentenctl
                        )ysentencingCourt(Fe(I.R.Cfim.?.35(a))     I
                                                                   --IMoëiticationoflmposedTermoflmrrisonmentf0rRetroactiveXmendmentts)
 I
 k1CorrectionofSentencefôrClericalMistake(Fed.R.Crim.P.36)            totlesentencinzOuidelines(1sU.S.
                                                                                                     C.j3582(c)(2))
                                                                   1
                                                                   71DirectMotiontoDistrictCourtPursuant F-I28U.    S.C.j2255or
                                                                      F-l18U,s.  C.j35594(47)
                                                                   I
                                                                   --IMozificationofRestitutionOrder(l3U.S.C.j3664)
       DEFEND            :
I
K pleadedguiltytocountts) 1,18and19
EEIpleadednolocontenderetocountts)                                                         .
    which was accepted by the court.
(71 wasfoundguiltyoncountts)
     afleraplea ofnotguilty.
Thedefendantisadjudicatedguiltyoftheseoffenses:
Title& Section                  Nature ofO ffense                                              Offènse Ended               Count
21U.S.C.j846            ConspiracytoDistributeandPossesswith lntenttoDistribute5                      6/19/2014
                        KilogramsofCocaine,a Schedule11Controlled Substance
21U.S.C.j841(a)(1) DistributeCocaineBase,aSchedule11ControlledSubstance                           10/24/2012

21U.S.C.j841(a)(1) DistributeCocaineBase,aSchedule11ControlledSubstaflce                          11/16/2012


        Thedefendantissentencedasprovidedinpages2through            6         ofthisjudgment.Thesentenceisimposedpursuantto
the SentencingReform Actof1924.
EEIThedefendanthasbeenfoundnotguiltyoncountts)
X Countts)                   20                    KIis I Z aredismissedonthemotionoftheUnitedStates.
        ltisorderedthatthedefendlntpzustnotifytheUnitedStatesAttorpeyforthisdijtrlctwithin30daysof!nychangeofname,residepce,
ormailingaddressuntlla1lfines,restltutlon,costs,andspecialassessmeptslmposedjythlsJudgmsntarefullypald.lforderedtopayrestitutlon,
thedefendantm ustnotify thecourtand United Statesattorney ofmaterlalchangesln economlcclrcum stances.
                                                                   5/19/2015
                                                                   Date oflm position ofJudgment
                                                                                                z!
                                                                      -.
                                                                       ..                        ,2               :

                                                                    ign ureofJudge
                                                                   Jackson L.Kiser,SeniorUnited StatesDistrictJudge
                                                                   Name nd TiteofJudge
                                                                            l
                                                                   Date
           Case 4:14-cr-00003-MFU                 Document 183 Filed 05/19/15            Page 2 of 6         Pageid#:
                                                                    526
AO245C     (Rev.9/11-VAW Additions6/05)AmendedJudgmentinCri
                                                          minalCase                           @OTE:IdentifyChangesw1t11Asterisks(#))
           Sheet2-lm prisonment                                                                            -
                                                                                         Judm ent-Page      2      of         6
D EFEN DA N T: TIM OTHY LAM ONT M ITCHELL
CASE NU M BER :DVAW 414CR000003-005


                                                   IM PRISO NM ENT
       Thedefendantishereby comm ittedtothecustodyoftheUnitedSutesBureauofPrisonstobeimprisonedfora
totalterm of:
   57 monthson Counts 1,18 and 19,to be served concurrently.




    K ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
    thatthedefendantparticipateintheResidentialDrug TreatmentProgram whileim prisoned.



    Z ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    X ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
      Q at                             L a.m. D p.m. on
      K asnotifiedbytheUnitedSGtesMarshal.
    Z ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
      Z before            on
      Z asnotifiedbytheUnitedStatesMarshal.
      Z asnotifiedbytheProbationorPretrialServicesOffice.

                                                         M T UM
 lhaveexecutedthisjudgmentasfollows:




         Defendantdeliveredon

a                                           ,withacertifiedcopyofthisjudgment.


                                                                                     UNITED STATESMARSHAL

                                                               By
                                                                                  DEPUTY USRTED STATEShtKRSHAL
           Case 4:14-cr-00003-MFU                Document 183 Filed 05/19/15           Page 3 of 6         Pageid#:
                                                            527

AO245C     (Rev.9/11-VAW Additions6/05)AmendedJudgmentinaCriminalCase
           Sheet3- SupervisedReltase                                                        @ OW :IdentifyChangeswi
                                                                                                                  thAsterisks(#))
                                                                                         Judgment- page    3     of       6
DEFENDANT: TIM OTHY LAM ONT M ITCHELL
CASE     ER:DVAW 414CR000003-005
                                                  SU PERVISED RELEASE
Uponreleasefrom imprisonm ent,thedefendantshallbeonsupervisedreleaseforaterm of:
3years,consistingof3yearsoneach ofCounts1,18and 19,allsuch term sto nm concurrently.

         Thedefendantmustreporttotheprobationoftkeinthedistricttowhichthedefendantisreleasedwithin 72hoursofreleasefrom the
custody oftheBureauofPrisons.
Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.
Thedefendantshallnotunlawfull ppssessacontrolledspbjtance Thedefendantshallrefrainfrom any unlawfuluseofaçontrolled
substance.nedefepdantshallsulmlttoonedrugtestwlthm 15haysofreleasefromimprisonmentandatleasttwoperiodlcdrugtests
thereaher,asdetenmnedbythecourt.
I
ZI Theabovedrug testing condition issuspended,basedonthecourt'sdeterminationthatthedefendantposesa1ow riskof
      futuresubstanceabuse.(check,çapplicable.
                                             )
K     ThedefendantshallnotpossessaGrearm,nmmtmition,destructivedevice,orany otherdangerousweapon.(check,kapplicable.
                                                                                                                   )
K     Thedefendantshallcooperateinthecollection ofDNA asdirectedbytheprobationofficer.(Check,fappli
                                                                                                  cable.
                                                                                                       )
Z Thdi
    cdefendantshallcomolvwiththereauirementsoftheSexOffenderRezistrationandNotifkationAct(42U.S.C.i16901,efseq.)
      as rectedby theprobatlo-
                             noffiger thebureapofPrisons orany statesex'
                                                                       -'
                                                                        oflknderregistration agencyin-whichheor
                                                                                                             - sheresides,
      works,isastudent,orwasconwctldofaquallfyingoffenke. (check,ifapplicable.
                                                                             )
EEl n edefendantshallparticipateinanapprovedprogram fordomesticviolence.(check,çapplicable.
                                                                                          )
        Ifthisjudgmentimposeyafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
ScheduleofPaymentssheetofthlsjudgment.
        Thedefendantmustcomplywiththestandard conditionsthathavebeenadoptedbythiscourtaswellasw ithanyadditionalconditions
on thea% ched page.

                                   STAND             CONDITIONS OF SUPERVISION
     thedefendantshallnotIeavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
  2) thedefendantshallreporttotheprobationofficerinamannerandfrequencydirectedbythecourtorprobationofficer;
  3) thedefendantshallanswertnlthfully allinquiriesbytheprobationoflkerandfollow theinstructionsoftheprobationoffker;
  4) thedefendantshallsupporthisorherdependentqandmeetotherfamilyresponsibilities;
  5) thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobationofficerforschooling,training,orother
         acceptablereasons;
    6) thedefendantshallnotifytheprobationoffkeratleasttendayspriortoanychangeinresidenceoremployment;
    7) thedefendantshallrefrainfrom excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradpjnisterany
       controlled substanceorany paraphernaliarelatedtoany controlled substances,exceptasprescribedby aphyslclan;
  8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
  9) f
     thedefendantshallnotassociatewithanypersonsengagedincriminalactivityandshallnotassociatewithanypersonconvktedofa
         elony,unlessgrantedpermissionto do so'
                                              bytheprobatlonoftk er;
 10) thedefendantshallper itaprobationofficertoyisithimorheratanytimeathomeorelsewhereandshallpermitconfiscationofany
         contrabandobservedlnplain view oftheprobatlonom cer;
 11) thedefendantshallnotifytheprobationofficerwithinseventptwohoursofbeingarrestedorquestionedbyalaw enforcementofficer;
 l2) thedçfepdantshallnotenterintoany agreementto actasan informeroraspecialagentofa1aw enforcementagencywithoutthe
     perm lsslon ofthe court;and

 13) asdird
          ectedby theprpbationofficersthgdefendantshallnotifythirdpartiesofrisksthatmay beoccmionydbythedefendant'scriminal
         reec
         d   or oryersonalJugtoryprcharactepsticsandshallpermittheprobationomcertomakesuchnotlficatlonsandtoconfirm the
            fendantscom pllancewlth suchnotlfkationrequlrcm ent.
           Case 4:14-cr-00003-MFU                Document 183 Filed 05/19/15               Page 4 of 6         Pageid#:
                                                            528
  AO245C    (Rev.9/11-VAW Additions6/05)AmendedJudgmentinaCriIniI!aICase
            Sheet3C -SupervisedRelease                                                           (XOW :ldentifyChangeswithAsterisks(*))
                                                                                             Judgnwnt-page      4     of        6
  D EFEN DA NT: TIM OTHY LAM ONT M ITCHELL
  CA SE N UM BER : DV AW 414CR000003-005

                                 SPECIAL COND ITIONS O F SUPERW SION
 l.Thedefendantshallpayanyspecialassessment,Gne,and/orrestitutionthatisimposedbythisjudgment.
 2.Thedefendantshallparticipatein aprogram oftesting andtreatm entforsubstanceabuse,asapprovedbytheprobationofficer,untilsuch
 tim e asthe defendanthassatisfied a1lrequirementsofthe program .

*3.Thedefendantshallparticipatein aprogram ofmentalhealthtreae ent,asapprovedby theprobationoffker,untilsuch tim easthe
 defendanthassatisfiedallrequirem entsoftheprogram .
 4.Thedefendantshallresidein aresidencefreeoffirearm s,am munition,destructivedevices,and dangerousw eapons.
 5.Thedefendantshallsubmittowarrantlesssearchand seizureofpersonandproperty asdirectedby theprobationofficer,to detennine
 whetherthedefendantisinpossessionoftirearm s,illegalcontrolledsubstancesandalcohol.
 6. Thedefendantshallnotpurchase,possess,use oradministerany alcohol,orfrequentany businesseswhose prim ary function isto serve
 alcoholicbeverages.
         Case 4:14-cr-00003-MFU                Document 183 Filed 05/19/15             Page 5 of 6            Pageid#:
                                                          529
AO245C    (Rev.9/11-VAW Additions6/05)AmendedJudgmentinaCriminalCase
          Sheet5-CriminalMonetaryPenalties                                                     @ OW :ldentifyChangesw1t11Asterisks(#))
                                                                                    Judgment-Page         5       of         6
D EFEND AN T : TIM OTHY LAM ONT M ITCHELL
CA SE N U M BER:DVAW 414CR000003-005
                                       CRIM INAI,M ON ETARY PEN AI,TIES
    Thedefendantmustpay thetotalcriminalmonetarypenaltiesunderthescheduleofpaymentsonSheet6.

                  Assessm ent                                   Fine                        Restitution
TOTALS          $300.00                                     $                           $


IZ) Thedetcrminationofrestitutionisdeferreduntil            .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
    attersuch determination.

EEl Thedefendantmustmakerestitution(includingcommunityrestimtion)tothefollowingpayeesinthcamountlistedbelow.
    lfthedefendantmakesapartialpayment,eachpayeeshallreceiveanapproximatelyproportionedpayment,unlessspecifiedotherwise
    inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto18U.S.C 53664(1),alInonfederalvictimsmustbe
    paidbeforetheU nited Statesispaid.
NameofPavee                                       TotalLoss*             Restitution Ordered              Prioril orPercentage




TO TALS                                                         $0.00                           $0.00

Z   Restitutionamountorderedpursuanttopleaagreement$
Z   ThedefendantmustpayinterestonrestitutionandaGneofmorethan$2,500,unlesstherestitutionorfineispaidinfullbeforethe
    tm eenthdayaherthedateofthejudgment,pursuantto18U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
    topenaltiesfordelinquencyanddefault,pursuantto18U.S.C.û3612(g).
Z Thecourtdeterminedthatthedefendantdoesnothavethcabilitytopayinterestanditisorderedthat:
    r-l theinterestrequirementiswaivedforthe r-l 5ne r-I restimtion.
    r-I theinterestrequirementforthe r-1 tlne r-I restitutionismodifiedasfollows:



#FindingsforthetotalamountoflossesarerequiredunderChapters109A ,110,1IOA,and 113A ofTitle18foroffensescom m ittedon
oraherSeptem ber13,1994,butbeforeApril13,1996.
            Case 4:14-cr-00003-MFU                Document 183 Filed 05/19/15                Page 6 of 6        Pageid#:
                                                             530
AO 245C     (Rev.9/11-VAW Additions6/05)AmendedJudgmentinaCriminalCmse
            Sheet6-ScheduleofPayments

DEFENDANT: TIM OTHY LAM ON T M ITCHELL                                                                 Judgm ent-Page 6 of 6
CASE N UM BER:DVAW 414CR000003-005
                                               SCH ED ULE O F PA Y M EN TS
Havingassessedthedefendant'sabilitytopay,thetotalcrim inalm oneurypenaltiesarcdueimmediately andpayableasfollows:
AIK Dlmpsmnpaymentof$300.00             immediately,balancepayablc
         Z notlaterthan                       ,or
         Z inaccordance       Z C, Z D, Z E, EZIF or,Z Gbelow);or
B Z Paymenttobeginimmediately(maybecombinedwith Z C, EEID, Z F,or Z G below);or
c Eql Paymentinequal                   (e.g.,weekly,monthly,quarterly)installmentsof$                               overaperiodof
                         (e.g.,monthsoryears),tocommence                       (e.g.,30or60days)afterthedateofthisjudgment;or
D EEI Paymentinequal                                (e.g.,weekly,monthly,quarterly)installmentsof$                  overaperiodof
                         (e.g.,monthsoryears),to commcnce                      (e.g.,30or60 days)afterreleasefrom imprisonmenttoa
          term ofsupervision;or
EI
 D Paymentdulingtheterm ofsupervisedreleascwillcommencewithin                               (e.g.,30or60days)afterreleasefrom
          imprisonm ent. Thecourtw illsetthepaym entplan based on an assessmentofthedefendant'sability to pay atthattim e;or
   EEI Duringthetennofimprisonment,paymentinequal                            (e.g.,weekly,monthly,quarterly)installmentsof
          $                ,or         % ofthedefendant'sincome,whicheveris greater =tocommence                   (e.g.,30or
          60 days)afterthedateofthisjudgment;AND paymentinequal                      (e.g.,weekly,monthly,quarterly)
          installmentsof$                 duringtheterm ofsupervisedrelease,tocommence                    (e.g.,30or60 days)
          afterrelease from imprisonm ent.
G I
  --I Specialinstructionsregardingthepaymentofcriminalmonetmy penalties:


Anyinstallmentscheduleshallnotprecludeenforcementoftherestimtion ortineorderbytheUnited Statesunder18U.S.C jj3613and
3664(n9.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotifytheprobation officerandtheU .S.Attorney ofany changeinthedefendant'seconomiccircum stancesthatmay affectthe
defendant'sability to pay.
Allcriminalm onetarypenaltiesshallbem adepayabletotheClerk,U .S.DistrictCourt,210FranklinRd.,Suite540,Roanoke,V irginia24011,
fordisbursem ent.
The defendantshallreceive creditforaIlpaym entspreviously made tow ard any crim inalm onetary penaltiesim posed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.
  Z JointandSeveral
     DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),ToulAmount,JointandSeveralAmount,and
     correspondingpayee,ifappropriate.




  r'-IThedefendantshallpaythecostofprosecution.
  r-IThedefendantshallpaythefollowingcourtcostts):
  I'-IThedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:



 Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fineprincipal,
 (5)fineinterest,(6)communityrestitmion,(7)penalties,and (8)costs,includingcostofprosecutionandcourtcosts.
